Case 1:21-cr-00399-RDM Document 97-1 Filed 12/14/22 Page 1 of 52




              Exhibit ‘A’
 Case 1:21-cr-00399-RDM Document 97-1 Filed 12/14/22 Page 2 of 52

                                                                          Tor Ekeland
                                                                          Managing Partner
                                                                          (718) 737-7264
                                                                          tor@torekeland.com




                                    November 18th, 2022
Via Email and FedEx


Sarah Ward
General Counsel
Chainalysis, Inc.
114 5th Avenue, 18th Floor
New York, NY
10011


Re:    United States v. Roman Sterlingov, 21-CR-00399 (D.D.C.): Subpoenas


Ms. Ward,
        Please find enclosed subpoenas for Chainalysis Inc. (“Chainalysis”), Michael
Gronager, Jonathan Levin and Youli Lee. As you are aware, Chainalysis participated in the
investigation of the above-referenced case dating back to at least 2016, if not earlier.
Among other things, our subpoenas seek the source code, object code, algorithms, and all
software code used by Chainalysis for the investigation in the above-referenced case.
Additionally, it has come to our attention that you have circulated evidence in this case to
third-parties for analysis and presentation at the USENIX Security Symposium. Our
subpoenas also seek all information related to this research and whitepaper. The subpoenas
are enclosed.
        Currently this matter is scheduled to go to trial on January 9th, 2023, thus time is of
the essence. There is a pending motion for a 3-month continuance. We will inform you of
any schedule changes. We hereby tender the statutory witness fees, please let us know
where you would like to have them sent. We look forward to speaking with you at your
earliest convenience to make this as easy as possible for everyone.
        Given the complexities of this case, we foresee the possibility of having to issue
further subpoenas for both testimony and information from your company.




                         30 Wall Street, 8th Floor ▪ New York, NY 10005
                                      www.torekeland.com
 Case 1:21-cr-00399-RDM Document 97-1 Filed 12/14/22 Page 3 of 52




         Finally, please be advised because of your company’s involvement in Mr.
Sterlingov’s prosecution, you face potential liability should he be acquitted. Thus, since
civil litigation is a foreseeable event, your duty to preserve all documents,
communications, information, and records relating to anything having to do with Mr.
Sterlingov has attached. This includes your discussions with any investors and potential
investors about this case.


                                              Sincerely,


                                                     Tor Ekeland
                                                     Michael Hassard
                    Case 1:21-cr-00399-RDM Document 97-1 Filed 12/14/22 Page 4 of 52
AO 89B (07/16) Subpoena to Produce Documents, Information, or Objects in a Criminal Case


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                          DistrictDistrict
                                                     __________    of Columbia
                                                                           of __________
                  United States of America                                 )
                             v.                                            )
                      Roman Sterlingov                                     )        Case No. 21-CR-00399 (RDM)
                                                                           )
                             Defendant                                     )
                              SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR
                                         OBJECTS IN A CRIMINAL CASE
To:     Chainalysis, Inc.

                                                      (Name of person to whom this subpoena is directed)

      YOU ARE COMMANDED to produce at the time, date, and place set forth below the following books, papers,
documents, data, or other objects:
See Exhibit 'A'


Place: Tor Ekeland Law, PLLC                                                        Date and Time: 12/21/2022 9:00 am
         30 Wall St., 8th Floor
         New York, NY 10005

         Certain provisions of Fed. R. Crim. P. 17 are attached, including Rule 17(c)(2), relating to your ability to file a
motion to quash or modify the subpoena; Rule 17(d) and (e), which govern service of subpoenas; and Rule 17(g),
relating to your duty to respond to this subpoena and the potential consequences of not doing so.
           (SEAL)

Date:        11/18/2022
                                                                                    CLERK OF COURT


                                                                                                Signature of Clerk or Deputy Clerk


The name, address, e-mail, and telephone number of the attorney representing (name of party)      Roman Sterlingov
                                                                                      , who requests this subpoena, are:
 Tor Ekeland Law, PLLC,30 Wall St., 8th Floor, New York, NY 10005, 718-737-7264, tor@torekeland.com


                                  Notice to those who use this form to request a subpoena
Before requesting and serving a subpoena pursuant to Fed. R. Crim. P. 17(c), the party seeking the subpoena is advised to
consult the rules of practice of the court in which the criminal proceeding is pending to determine whether any local rules
or orders establish requirements in connection with the issuance of such a subpoena. If no local rules or orders govern
practice under Rule 17(c), counsel should ask the assigned judge whether the court regulates practice under Rule 17(c) to
1) require prior judicial approval for the issuance of the subpoena, either on notice or ex parte; 2) specify where the
documents must be returned (e.g., to the court clerk, the chambers of the assigned judge, or counsel’s office); and 3)
require that counsel who receives produced documents provide them to opposing counsel absent a disclosure obligation
under Fed. R. Crim. P. 16.

Please note that Rule 17(c) (attached) provides that a subpoena for the production of certain information about a victim
may not be issued unless first approved by separate court order.
                    Case 1:21-cr-00399-RDM Document 97-1 Filed 12/14/22 Page 5 of 52
AO 89B (07/16) Subpoena to Produce Documents, Information, or Objects in a Criminal Case (Page 2)

Case No. 21-CR-00399 (RDM)

                                                             PROOF OF SERVICE

          This subpoena for (name of individual and title, if any)
was received by me on (date)                                  .

          ’ I served the subpoena by delivering a copy to the named person as follows:


                                                                                 on (date)                                    ; or

          ’ I returned the subpoena unexecuted because:
                                                                                                                                             .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                    .

My fees are $                                  for travel and $                              for services, for a total of $          0.00    .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                                    Server’s signature



                                                                                               Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:




                                                                                                                                     Reset
                    Case 1:21-cr-00399-RDM Document 97-1 Filed 12/14/22 Page 6 of 52
AO 89B (07/16) Subpoena to Produce Documents, Information, or Objects in a Criminal Case (Page 3)



                        Federal Rule of Criminal Procedure 17 (c), (d), (e), and (g) (Effective 12/1/08)
(c) Producing Documents and Objects.

     (1) In General. A subpoena may order the witness to produce any books, papers, documents, data, or other objects the subpoena
     designates. The court may direct the witness to produce the designated items in court before trial or before they are to be offered in
     evidence. When the items arrive, the court may permit the parties and their attorneys to inspect all or part of them.

     (2) Quashing or Modifying the Subpoena. On motion made promptly, the court may quash or modify the subpoena if compliance
     would be unreasonable or oppressive.

     (3) Subpoena for Personal or Confidential Information About a Victim. After a complaint, indictment, or information is filed, a
     subpoena requiring the production of personal or confidential information about a victim may be served on a third party only by court
     order. Before entering the order and unless there are exceptional circumstances, the court must require giving notice to the victim so that
     the victim can move to quash or modify the subpoena or otherwise object.

(d) Service. A marshal, a deputy marshal, or any nonparty who is at least 18 years old may serve a subpoena. The server must deliver a copy
of the subpoena to the witness and must tender to the witness one day’s witness-attendance fee and the legal mileage allowance. The server
need not tender the attendance fee or mileage allowance when the United States, a federal officer, or a federal agency has requested the
subpoena.

(e) Place of Service.

     (1) In the United States. A subpoena requiring a witness to attend a hearing or trial may be served at any place within the United
     States.

     (2) In a Foreign Country. If the witness is in a foreign country, 28 U.S.C. § 1783 governs the subpoena's service.

(g) Contempt. The court (other than a magistrate judge) may hold in contempt a witness who, without adequate excuse, disobeys a subpoena
issued by a federal court in that district. A magistrate judge may hold in contempt a witness who, without adequate excuse, disobeys a
subpoena issued by that magistrate judge as provided in 28 U.S.C. § 636(e).
      Case 1:21-cr-00399-RDM Document 97-1 Filed 12/14/22 Page 7 of 52




Tor Ekeland (pro hac vice)
tor@torekeland.com
TOR EKELAND LAW, PLLC
30 Wall Street, 8th Floor
New York, NY 10005-2205
(718) 737 – 7264

Michael Hassard (pro hac vice)
michael@torekeland.com
TOR EKELAND LAW, PLLC
30 Wall Street, 8th Floor
New York, NY 10005-2205
(718) 737 – 7264
Attorneys for Defendant
Roman Sterlingov


                    UNITED STATES DISTRICT COURT
                        DISTRICT OF COLUMBIA


United States of America,

                          Plaintiff,               21-CR-00399-RDM
      v.
                                            SUBPOENA FOR DOCUMENTS
Roman Sterlingov,                                AND TESTIMONY

                                                      EXHIBIT ‘A’
                          Defendant.




To:
CHAINALYSIS INC (Delaware Division of Corporations File No.5731603)

Resident Agent:
Corporation Service Company
251 Little Falls Drive
Wilmington, DE 19808
          Case 1:21-cr-00399-RDM Document 97-1 Filed 12/14/22 Page 8 of 52




                                              Definitions
1.        The term “any” includes “any,” “all” and “every.”

2.        The term “Document” shall be construed in the broadest sense allowed by federal law.

The term “Document” includes, but is not limited to, any writings, drawings, graphs, charts,

photographs, phonograph records, tape recordings, notes, diaries, calendars, books, papers,

accounts, electronic or videotape recordings, and any computer-generated, computer-stored, or

electronically stored matter from which information can be obtained and translated, if necessary,

into reasonable useable form. The term “Document” includes preliminary versions, drafts, and

revisions.

3.        The term “records” shall be construed in the broadest sense allowed by federal law and

includes but is not limited to any communications, emails, text messages, bank records, financial

statements, notes, recordings, or the like.

4.        The terms “include” or “including” are used merely to emphasize certain types of

information requested and should not be construed as limiting a subpoena in any way.

“Including” should be construed in all cases as followed by the phrase “but not limited to.”

5.        The terms “person,” “individual,” or “entity” mean any natural person or any business,

legal or governmental entity or association.

6.        The terms “and” and “or” shall be construed either disjunctively or conjunctively as
necessary to bring within the scope of this subpoena all documents and information that would

be excluded if such words were not so construed. The present tense includes the past and future

tenses.

7.        The term “Chainalysis” means the following entity:

CHAINALYSIS, LLC (Delaware Division of Corporations File No. 5731603)
and its subsidiaries, affiliates, directors, contractors, employees, volunteers, agents,

representatives, or any entities controlled or owned by Chainalysis, LLC.
8.        The term “Excygent” means the following entity:
        Case 1:21-cr-00399-RDM Document 97-1 Filed 12/14/22 Page 9 of 52



EXCYGENT, LLC (Virginia Corporation Commission Entity No. S6918975)
and its subsidiaries, affiliates, directors, contractors, employees, volunteers, agents,

representatives, or any entities controlled or owned by Excygent, LLC.

9.     The term “ELLIPTIC” means the blockchain analytic company with offices in London,

New York City, Tokyo, and Singapore with the following website: www.elliptic.co.

10.    The term “MITRE” means the following entity:

MITRE ENGENUITY, INCORPORATED (Virginia Corporation Commission Entity No.
11037123)
and its subsidiaries, affiliates, directors, contractors, employees, volunteers, agents,

representatives, or any entities controlled or owned by MITRE Engenuity, Inc.

11.    The term “Bitcoin Fog” refers to any bitcoin tumbling or mixing .onion site, or the like,

that Excygent, Aaron Bice, John Golinvaux or Tyler Travis investigated or researched on behalf

of, with, or alongside the United States Government that led to the prosecution in United States

v. Roman Sterlingov 21-CR-00399-RDM (D.D.C).

12.    The term “communication” means the transmission of information by any means,

electronic, paper or other (in the form of facts, ideas, inquiries or otherwise), including, but not

limited to e-mails, text messages, chat messages, web postings, social media postings, and

messages from any and all messaging applications (including but not limited to Facebook,

Google, Twitter, Slack, Chanty, Microsoft Teams, Discord, Mattermost, Confluence, Whatsapp,
Signal) which are in the possession, custody or control of Chainalysis, wherever located. All

communications shall include source codes, object codes, algorithms, computer software,

metadata, time stamps, dates, and complete content.

13.    All “communications” include communications made in both professional and personal

capacities.

14.    The term “whitepaper” means the “How to Peel a Million: Validating and Expanding

Bitcoin Clusters” written by George Kappos, Haaron Yousaf, Rainer Stütz, Sofia Rollet,

Bernhard Haslhofer and Sarah Meiklejohn, and presented at the USENIX Security Symposium
in Boston, MA in August 2022.
       Case 1:21-cr-00399-RDM Document 97-1 Filed 12/14/22 Page 10 of 52




15.    The term “entities” includes any corporation, partnership, sole proprietorship, LLC, LLP,

or any type of business entity related in any way to the investigation of Bitcoin Fog and the

investigation and prosecution of Mr. Sterlingov.

16.    The term “Source Code” includes any coding, abbreviations, or means of identification

used to conduct blockchain analysis, log communications, or conduct investigations.

17.    The term “Native File Format” refers to the default file format that a computer

application or program uses to create or save files in a proprietary format that only that program

or application can recognize and includes all the metadata attached to those files. For example,

Microsoft Word documents should be produced in .doc format and not as a .pdf, and with all

metadata, including track changes, intact.
       Case 1:21-cr-00399-RDM Document 97-1 Filed 12/14/22 Page 11 of 52




                                   Testimony Requested
1.     This subpoena includes a request for a custodian of records, or other qualified person,

who can authenticate any produced material in accordance with Federal Rule of Evidence

902(11).

2.     For materials that are not self-authenticating, the Defense requests that Chainalysis

produce an individual with knowledge who can testify as to the authenticity of the produced

material.
       Case 1:21-cr-00399-RDM Document 97-1 Filed 12/14/22 Page 12 of 52




                        Documents and Objects to be Produced
1.     Any documents, records and communications, including individual notes to one’s self,

related to the DOJ press releases announcing Roman Sterlingov’s arrest. This includes

communications between Chainalysis and the Department of Justice in scheduling interviews,

the timing of the release, and communications with WIRED reporter Andy Greenberg, as well as

any communications related to Andy Greenberg’s book “Tracers in the Dark – The Global Hunt

for the Crime Lords of Cryptocurrency”.

2.     Any documents, records and communications, including individual notes to one’s self,

exchanged between Chainalysis and investors or potential investors related to the investigation

that led to the prosecution in United States v. Roman Sterlingov 21-CR-00399-RDM (D.D.C.).

This includes pitchbooks, newsletters, and any material mentioning Chainalysis’s work on Mr.

Sterlingov’s case and Bitcoin Fog.

3.     Any documents, records and communications, including individual notes to one’s self,

exchanged between employees, agents, contractors, entities, and anyone else at Chainalysis

related to the investigation that led to the prosecution in United States v. Roman Sterlingov 21-

CR-00399-RDM (D.D.C.).

4.     Any documents, records and communications, including individual notes to one’s self,
exchanged between Chainalysis and Aaron Bice, Excygent, John Golinvaux, Tyler Travis,

MITRE, Catherine A. Pelker, the IRS, the U.S. Treasury Department, the DOJ, the FBI, Elliptic,

and any other foreign or domestic law enforcement agency, third party vendor or contractors, or

entities in any combination whatsoever, related to the investigation that led to the prosecution in

United States v. Roman Sterlingov 21-CR-00399-RDM (D.D.C.).

5.     Any documents, records, and communications, including any contracts or memorandums

of understanding between the United States Government and Chainalysis in relation to the work

related to the investigation that led to the prosecution in United States v. Roman Sterlingov 21-
CR-00399-RDM (D.D.C.).
       Case 1:21-cr-00399-RDM Document 97-1 Filed 12/14/22 Page 13 of 52




6.     Any documents, records and communications regarding the purchase of Excygent by

Chainalysis, including due diligence documents, the price paid, any memorandums of

understanding, sales agreements, negotiations, contracts and records of payment whether via

cash, equity, options, or any other form of consideration.

7.     Any documents, records and communications, including individual notes to one’s self,

exchanged between Chainalysis and WIRED Magazine, Andy Greenberg, or any other reporter

related to blockchain analysis or Andy Greenberg’s book “Tracers in the Dark – The Global

Hunt for the Crime-Lords of Cryptocurrency” released on in November 15, 2022.

8.     Any documents, records and communications, including individual notes to one’s self,

exchanged between Chainalysis and any researcher from University College London, IC3, the

Austrian Institute of Technology, or the Complexity Science Hub Vienna, including, but not

limited to, George Kappos, Haaron Yousaf, Rainer Stütz, Sofia Rollet, Bernhard Haslhofer, or

Sarah Meiklejohn related to the presentation of the whitepaper at the USENIX Security

Symposium and the investigation that led to the prosecution in United States v. Roman

Sterlingov 21-CR-00399-RDM (D.D.C.). This includes datasets, draft versions of the whitepaper,

source code, object code, algorithms, heuristics, methodologies, and Chainalysis research sent to

researchers, as well as all software editions with complete code in native file format.

9.     Any documents, records and communications, including individual notes to one’s self,
regarding the development of Chainalysis Reactor software and any other software related to the

investigation that led to the prosecution in United States v. Roman Sterlingov 21-CR-00399-

RDM (D.D.C.), including any reports, sandbox results, beta testing, penetration testing results,

GitHub or the like archives or repositories, wiki documents, peer reviews, error rates, clustering

methodologies and propensity for false positives.

10.    Any documents, records and communications, including individual notes to one’s self,

exchanged between Chainalysis and Catherine Alden Pelker related to the investigation that led

to the prosecution in United States v. Roman Sterlingov 21-CR-00399-RDM (D.D.C.).
       Case 1:21-cr-00399-RDM Document 97-1 Filed 12/14/22 Page 14 of 52




11.    Any documents, records and communications, including individual notes to one’s self,

exchanged between Chainalysis and Excygent related to the investigation that led to the

prosecution in United States v. Roman Sterlingov 21-CR-00399-RDM (D.D.C.).

12.    Any documents, records and communications, including individual notes to one’s self,

exchanged between Chainalysis and Elliptic related to the investigation that led to the

prosecution in United States v. Roman Sterlingov 21-CR-00399-RDM (D.D.C.). This includes all

communications between Excygent and Elliptic.

13.    Any documents, records and communications, including individual notes to one’s self,

exchanged between Chainalysis and MITRE related to the investigation that led to the

prosecution in United States v. Roman Sterlingov 21-CR-00399-RDM (D.D.C.).

14.    Any documents, records and communications, including individual notes to one’s self,

exchanged between Chainalysis and Excygent related to the investigation that led to the

prosecution in United States v. Roman Sterlingov 21-CR-00399-RDM (D.D.C.).

15.    Any documents, records and communications, including individual notes to one’s self,

exchanged between Chainalysis and Aaron Bice related to the investigation that led to the

prosecution in United States v. Roman Sterlingov 21-CR-00399-RDM (D.D.C.).

16.    Any documents, records and communications, including individual notes to one’s self,

initiated or received by Michael Gronanger, Jonathan Levin, Youli Lee, John Lewis Golinvaux,
Gurvais Grigg, or anyone else affiliated with Chainalysis, related to the investigation that led to

the prosecution in United States v. Roman Sterlingov 21-CR-00399-RDM (D.D.C.).

17.    Any documents, records and communications, including individual notes to one’s self,

exchanged between Chainalysis and the Swedish Prosecution Authority related to the

investigation that led to the prosecution in United States v. Roman Sterlingov 21-CR-00399-

RDM (D.D.C.).

18.    Any documents, records and communications, including individual notes to one’s self,

exchanged between Chainalysis and the Financial Crimes Enforcement Network related to the
       Case 1:21-cr-00399-RDM Document 97-1 Filed 12/14/22 Page 15 of 52




investigation that led to the prosecution in United States v. Roman Sterlingov 21-CR-00399-

RDM (D.D.C.).

19.    Any documents, records and communications, including individual notes to one’s self,

exchanged between Chainalysis and any other federal agency related to the investigation that led

to the prosecution in United States v. Roman Sterlingov 21-CR-00399-RDM (D.D.C.).

20.    Please produce a log documenting all material withheld on the basis of privilege, work-

product doctrine, or otherwise.

21.    All production must be in Native File Format unless otherwise agreed to.



Deadline and place for production:

On or before 21 days from date of receipt.


Tor Ekeland Law, PLLC
30 Wall Street
8th Floor
New York, NY 10005
(718) 737-7264
tor@torekeland.com
      Case 1:21-cr-00399-RDM Document 97-1 Filed 12/14/22 Page 16 of 52




November 18, 2022

                                         Submitted,

                                         /s/ Tor Ekeland
                                         Tor Ekeland (NYS Bar No.
                                         4493631)
                                         Tor Ekeland Law, PLLC

                                         /s/ Michael Hassard
                                         Michael Hassard (NYS Bar No.
                                         5824768)
                                         Tor Ekeland Law, PLLC


                                         30 Wall Street
                                         8th Floor
                                         New York, NY
                                         10005
                                         (718) 737 - 7264
                                         tor@torekeland.com

                                         Attorneys for Roman Sterlingov
                    Case 1:21-cr-00399-RDM Document 97-1 Filed 12/14/22 Page 17 of 52
AO 89 (Rev. 08/09) Subpoena to Testify at a Hearing or Trial in a Criminal Case


                                        UNITED STATES DISTRICT COURT
                                                                           for the
                                                             DistrictDistrict
                                                        __________    of Columbia
                                                                              of __________
                   United States of America                                       )
                              v.                                                  )
                        Roman Sterlingov                                          )   Case No. 21-CR-00399 (RDM)
                                                                                  )
                              Defendant                                           )

                      SUBPOENA TO TESTIFY AT A HEARING OR TRIAL IN A CRIMINAL CASE

To:     Michael Gronager




        YOU ARE COMMANDED to appear in the United States district court at the time, date, and place shown
below to testify in this criminal case. When you arrive, you must remain at the court until the judge or a court officer
allows you to leave.
Place of Appearance: The U.S. District Court for D.C.                                 Courtroom No.:    8
                               333 Constitution Avenue N.W.                           Date and Time:
                               Washington D.C. 20001                                                   01/09/2023 9:00 am

           You must also bring with you the following documents, electronically stored information, or objects (blank if not
applicable):
See Exhibit 'A'




          (SEAL)


Date:          11/18/2022
                                                                                      CLERK OF COURT


                                                                                                Signature of Clerk or Deputy Clerk



The name, address, e-mail, and telephone number of the attorney representing (name of party)                            Roman Sterlingov
                                       , who requests this subpoena, are:
 Tor Ekeland Law, PLLC
 30 Wall St., 8th Floor
 New York, NY
 10005
 718-737-7264
 tor@torekeland.com
                    Case 1:21-cr-00399-RDM Document 97-1 Filed 12/14/22 Page 18 of 52
AO 89 (Rev. 08/09) Subpoena to Testify at a Hearing or Trial in a Criminal Case (Page 2)

Case No. 21-CR-00399 (RDM)

                                                                PROOF OF SERVICE

          This subpoena for (name of individual and title, if any)
was received by me on (date)                                     .

          ’ I served the subpoena by delivering a copy to the named person as follows:


                                                                                      on (date)                                    ; or

          ’ I returned the subpoena unexecuted because:
                                                                                                                                                  .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                       .

My fees are $                                     for travel and $                                for services, for a total of $          0.00    .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                                     Server’s signature



                                                                                                   Printed name and title




                                                                                                      Server’s address

Additional information regarding attempted service, etc:




                                                                                                                                          Reset
      Case 1:21-cr-00399-RDM Document 97-1 Filed 12/14/22 Page 19 of 52




Tor Ekeland (pro hac vice)
tor@torekeland.com
TOR EKELAND LAW, PLLC
30 Wall Street, 8th Floor
New York, NY 10005-2205
(718) 737 – 7264

Michael Hassard (pro hac vice)
michael@torekeland.com
TOR EKELAND LAW, PLLC
30 Wall Street, 8th Floor
New York, NY 10005-2205
(718) 737 – 7264
Attorneys for Defendant
Roman Sterlingov

                    UNITED STATES DISTRICT COURT
                        DISTRICT OF COLUMBIA


United States of America,

                          Plaintiff,           21-CR-00399-RDM
      v.
                                        SUBPOENA FOR DOCUMENTS
Roman Sterlingov,                            AND TESTIMONY

                                                 EXHIBIT ‘A’
                          Defendant.




To:
MICHAEL GRONAGER, CEO/CO-FOUNDER - CHAINALYSIS INC (Delaware Division
of Corporations File No.5731603)

Resident Agent:
Corporation Service Company
251 Little Falls Drive
Wilmington, DE 19808
          Case 1:21-cr-00399-RDM Document 97-1 Filed 12/14/22 Page 20 of 52




                                              Definitions
1.        The term “any” includes “any,” “all” and “every.”

2.        The term “Document” shall be construed in the broadest sense allowed by federal law.

The term “Document” includes, but is not limited to, any writings, drawings, graphs, charts,

photographs, phonograph records, tape recordings, notes, diaries, calendars, books, papers,

accounts, electronic or videotape recordings, and any computer-generated, computer-stored, or

electronically stored matter from which information can be obtained and translated, if necessary,

into reasonable useable form. The term “Document” includes preliminary versions, drafts, and

revisions.

3.        The term “records” shall be construed in the broadest sense allowed by federal law and

includes but is not limited to any communications, emails, text messages, bank records, financial

statements, notes, recordings, or the like.

4.        The terms “include” or “including” are used merely to emphasize certain types of

information requested and should not be construed as limiting a subpoena in any way.

“Including” should be construed in all cases as followed by the phrase “but not limited to.”

5.        The terms “person,” “individual,” or “entity” mean any natural person or any business,

legal or governmental entity or association.

6.        The terms “and” and “or” shall be construed either disjunctively or conjunctively as
necessary to bring within the scope of this subpoena all documents and information that would

be excluded if such words were not so construed. The present tense includes the past and future

tenses.

7.        The term “Chainalysis” means the following entity:

CHAINALYSIS, LLC (Delaware Division of Corporations File No. 5731603)
and its subsidiaries, affiliates, directors, contractors, employees, volunteers, agents,

representatives, or any entities controlled or owned by Chainalysis, LLC.

8.        The term “Excygent” means the following entity:

EXCYGENT, LLC (Virginia Corporation Commission Entity No. S6918975)
       Case 1:21-cr-00399-RDM Document 97-1 Filed 12/14/22 Page 21 of 52




and its subsidiaries, affiliates, directors, contractors, employees, volunteers, agents,

representatives, or any entities controlled or owned by Excygent, LLC.

9.     The term “ELLIPTIC” means the blockchain analytic company with offices in London,

New York City, Tokyo, and Singapore with the following website: www.elliptic.co.

10.    The term “MITRE” means the following entity:

MITRE ENGENUITY, INCORPORATED (Virginia Corporation Commission Entity No.
11037123)
and its subsidiaries, affiliates, directors, contractors, employees, volunteers, agents,

representatives, or any entities controlled or owned by MITRE Engenuity, Inc.

11.    The term “Bitcoin Fog” refers to any bitcoin tumbling or mixing .onion site, or the like,

that Excygent, Aaron Bice, John Golinvaux or Tyler Travis investigated or researched on behalf

of, with, or alongside the United States Government that led to the prosecution in United States

v. Roman Sterlingov 21-CR-00399-RDM (D.D.C).

12.    The term “communication” means the transmission of information by any means,

electronic, paper or other (in the form of facts, ideas, inquiries or otherwise), including, but not

limited to e-mails, text messages, chat messages, web postings, social media postings, and

messages from any and all messaging applications (including but not limited to Facebook,

Google, Twitter, Slack, Chanty, Microsoft Teams, Discord, Mattermost, Confluence, Whatsapp,

Signal) which are in the possession, custody or control of Chainalysis, wherever located. All
communications shall include source codes, object codes, algorithms, computer software,

metadata, time stamps, dates, and complete content.

13.    All “communications” include communications made in both professional and personal

capacities.

14.    The term “whitepaper” means the “How to Peel a Million: Validating and Expanding

Bitcoin Clusters” written by George Kappos, Haaron Yousaf, Rainer Stütz, Sofia Rollet,

Bernhard Haslhofer and Sarah Meiklejohn, and presented at the USENIX Security Symposium
in Boston, MA in August 2022.
       Case 1:21-cr-00399-RDM Document 97-1 Filed 12/14/22 Page 22 of 52




15.    The term “entities” includes any corporation, partnership, sole proprietorship, LLC, LLP,

or any type of business entity related in any way to the investigation of Bitcoin Fog and the

investigation and prosecution of Mr. Sterlingov.

16.    The term “Source Code” includes any coding, abbreviations, or means of identification

used to conduct blockchain analysis, log communications, or conduct investigations.

17.    The term “Native File Format” refers to the default file format that a computer

application or program uses to create or save files in a proprietary format that only that program

or application can recognize and includes all the metadata attached to those files. For example,

Microsoft Word documents should be produced in .doc format and not as a .pdf, and with all

metadata, including track changes, intact.
       Case 1:21-cr-00399-RDM Document 97-1 Filed 12/14/22 Page 23 of 52




                                   Testimony Requested
1.     This subpoena includes a request for a custodian of records, or other qualified person,

who can authenticate any produced material in accordance with Federal Rule of Evidence

902(11).

2.     For materials that are not self-authenticating, the Defense requests that Chainalysis

produce an individual with knowledge who can testify as to the authenticity of the produced

material.
       Case 1:21-cr-00399-RDM Document 97-1 Filed 12/14/22 Page 24 of 52




                         Documents and Objects to be Produced
1.     Any documents, records and communications, including individual notes to one’s self,

related to the DOJ press releases announcing Roman Sterlingov’s arrest. This includes

communications between Chainalysis or Michael Gronager and the Department of Justice in

scheduling interviews, the timing of the release, and communications with WIRED reporter

Andy Greenberg, as well as any communications related to Andy Greenberg’s book “Tracers in

the Dark – The Global Hunt for the Crime Lords of Cryptocurrency”.

2.     Any documents, records and communications, including individual notes to one’s self,

exchanged between Chainalysis or Michael Gronager and investors or potential investors related

to the investigation that led to the prosecution in United States v. Roman Sterlingov 21-CR-

00399-RDM (D.D.C.). This includes pitchbooks, newsletters, and any material mentioning

Chainalysis’s work on Mr. Sterlingov’s case and Bitcoin Fog.

3.     Any documents, records and communications, including individual notes to one’s self,

exchanged between Chainalysis or Michael Gronager and employees, agents, contractors,

entities, or anyone else at Chainalysis related to the investigation that led to the prosecution in

United States v. Roman Sterlingov 21-CR-00399-RDM (D.D.C.).

4.     Any documents, records and communications, including individual notes to one’s self,
exchanged between Chainalysis or Michael Gronager and Aaron Bice, Excygent, John

Golinvaux, Tyler Travis, MITRE, Catherine A. Pelker, the IRS, the U.S. Treasury Department,

the DOJ, the FBI, Elliptic, and any other foreign or domestic law enforcement agency, third

party vendor or contractors, or entities in any combination whatsoever, related to the

investigation that led to the prosecution in United States v. Roman Sterlingov 21-CR-00399-

RDM (D.D.C.).

5.     Any documents, records, and communications, including any contracts or memorandums

of understanding between the United States Government and Chainalysis or Michael Gronager in
        Case 1:21-cr-00399-RDM Document 97-1 Filed 12/14/22 Page 25 of 52




relation to the work related to the investigation that led to the prosecution in United States v.

Roman Sterlingov 21-CR-00399-RDM (D.D.C.).

6.        Any documents, records and communications regarding the purchase of Excygent by

Chainalysis, including due diligence documents, the price paid, any memorandums of

understanding, sales agreements, negotiations, contracts and records of payment whether via

cash, equity, options, or any other form of consideration.

7.        Any documents, records and communications, including individual notes to one’s self,

exchanged between Chainalysis or Michael Gronager and WIRED Magazine, Andy Greenberg,

or any other reporter related to blockchain analysis or Andy Greenberg’s book “Tracers in the

Dark – The Global Hunt for the Crime-Lords of Cryptocurrency” released on in November 15,

2022.

8.        Any documents, records and communications, including individual notes to one’s self,

exchanged between Chainalysis or Michael Gronager and any researcher from University

College London, IC3, the Austrian Institute of Technology, or the Complexity Science Hub

Vienna, including, but not limited to, George Kappos, Haaron Yousaf, Rainer Stütz, Sofia Rollet,

Bernhard Haslhofer, or Sarah Meiklejohn related to the presentation of the whitepaper at the

USENIX Security Symposium and the investigation that led to the prosecution in United States

v. Roman Sterlingov 21-CR-00399-RDM (D.D.C.). This includes datasets, draft versions of the
whitepaper, source code, object code, algorithms, heuristics, methodologies, and Chainalysis

research sent to researchers, as well as all software editions with complete code in native file

format.

9.        Any documents, records and communications, including individual notes to one’s self,

regarding the development of Chainalysis Reactor software and any other software related to the

investigation that led to the prosecution in United States v. Roman Sterlingov 21-CR-00399-

RDM (D.D.C.), including any reports, sandbox results, beta testing, penetration testing results,

GitHub or the like archives or repositories, wiki documents, peer reviews, error rates, clustering
methodologies and propensity for false positives.
       Case 1:21-cr-00399-RDM Document 97-1 Filed 12/14/22 Page 26 of 52




10.    Any documents, records and communications, including individual notes to one’s self,

exchanged between Chainalysis or Michael Gronager and Catherine Alden Pelker related to the

investigation that led to the prosecution in United States v. Roman Sterlingov 21-CR-00399-

RDM (D.D.C.).

11.    Any documents, records and communications, including individual notes to one’s self,

exchanged between Chainalysis or Michael Gronager and Excygent related to the investigation

that led to the prosecution in United States v. Roman Sterlingov 21-CR-00399-RDM (D.D.C.).

12.    Any documents, records and communications, including individual notes to one’s self,

exchanged between Chainalysis or Michael Gronager and Elliptic related to the investigation that

led to the prosecution in United States v. Roman Sterlingov 21-CR-00399-RDM (D.D.C.). This

includes all communications between Excygent and Elliptic.

13.    Any documents, records and communications, including individual notes to one’s self,

exchanged between Chainalysis or Michael Gronager and MITRE related to the investigation

that led to the prosecution in United States v. Roman Sterlingov 21-CR-00399-RDM (D.D.C.).

14.    Any documents, records and communications, including individual notes to one’s self,

exchanged between Chainalysis or Michael Gronager and Excygent related to the investigation

that led to the prosecution in United States v. Roman Sterlingov 21-CR-00399-RDM (D.D.C.).

15.    Any documents, records and communications, including individual notes to one’s self,
exchanged between Chainalysis or Michael Gronager and Aaron Bice related to the investigation

that led to the prosecution in United States v. Roman Sterlingov 21-CR-00399-RDM (D.D.C.).

16.    Any documents, records and communications, including individual notes to one’s self,

initiated or received by Michael Gronager, Jonathan Levin, Youli Lee, John Lewis Golinvaux,

Gurvais Grigg, or anyone else affiliated with Chainalysis, related to the investigation that led to

the prosecution in United States v. Roman Sterlingov 21-CR-00399-RDM (D.D.C.).

17.    Any documents, records and communications, including individual notes to one’s self,

exchanged between Chainalysis or Michael Gronager and the Swedish Prosecution Authority
       Case 1:21-cr-00399-RDM Document 97-1 Filed 12/14/22 Page 27 of 52




related to the investigation that led to the prosecution in United States v. Roman Sterlingov 21-

CR-00399-RDM (D.D.C.).

18.    Any documents, records and communications, including individual notes to one’s self,

exchanged between Chainalysis or Michael Gronager and the Financial Crimes Enforcement

Network related to the investigation that led to the prosecution in United States v. Roman

Sterlingov 21-CR-00399-RDM (D.D.C.).

19.    Any documents, records and communications, including individual notes to one’s self,

exchanged between Chainalysis or Michael Gronager and any other federal agency related to the

investigation that led to the prosecution in United States v. Roman Sterlingov 21-CR-00399-

RDM (D.D.C.).

20.    Any documents, records and communications, including individual notes to one’s self,

exchanged between Chainalysis or Michael Gronager and anyone else regarding any press

releases announcing Mr. Sterlingov’s arrest. This includes all communications with WIRED

Magazine reporters, individuals at the Department of Justice, or anyone else.

21.    Please produce a log documenting all material withheld on the basis of privilege, work-

product doctrine, or otherwise.

22.    All production must be in Native File Format unless otherwise agreed to.


Deadline and place for production:

On or before 21 days from date of receipt.


Tor Ekeland Law, PLLC
30 Wall Street
8th Floor
New York, NY 10005
(718) 737-7264
tor@torekeland.com
      Case 1:21-cr-00399-RDM Document 97-1 Filed 12/14/22 Page 28 of 52




November 18, 2022

                                         Submitted,

                                         /s/ Tor Ekeland
                                         Tor Ekeland (NYS Bar No.
                                         4493631)
                                         Tor Ekeland Law, PLLC

                                         /s/ Michael Hassard
                                         Michael Hassard (NYS Bar No.
                                         5824768)
                                         Tor Ekeland Law, PLLC


                                         30 Wall Street
                                         8th Floor
                                         New York, NY
                                         10005
                                         (718) 737 - 7264
                                         tor@torekeland.com

                                         Attorneys for Roman Sterlingov
                    Case 1:21-cr-00399-RDM Document 97-1 Filed 12/14/22 Page 29 of 52
AO 89 (Rev. 08/09) Subpoena to Testify at a Hearing or Trial in a Criminal Case


                                        UNITED STATES DISTRICT COURT
                                                                           for the
                                                             DistrictDistrict
                                                        __________    of Columbia
                                                                              of __________
                   United States of America                                       )
                              v.                                                  )
                        Roman Sterlingov                                          )   Case No. 21-CR-00399 (RDM)
                                                                                  )
                              Defendant                                           )

                      SUBPOENA TO TESTIFY AT A HEARING OR TRIAL IN A CRIMINAL CASE

To:     Jonathan Levin




        YOU ARE COMMANDED to appear in the United States district court at the time, date, and place shown
below to testify in this criminal case. When you arrive, you must remain at the court until the judge or a court officer
allows you to leave.
Place of Appearance: The U.S. District Court for D.C.                                 Courtroom No.:    8
                               333 Constitution Avenue N.W.                           Date and Time:
                               Washington D.C. 20001                                                   01/09/2023 9:00 am

           You must also bring with you the following documents, electronically stored information, or objects (blank if not
applicable):
See Exhibit 'A'




          (SEAL)


Date:          11/18/2022
                                                                                      CLERK OF COURT


                                                                                                Signature of Clerk or Deputy Clerk



The name, address, e-mail, and telephone number of the attorney representing (name of party)                            Roman Sterlingov
                                       , who requests this subpoena, are:
 Tor Ekeland Law, PLLC
 30 Wall St., 8th Floor
 New York, NY
 10005
 718-737-7264
 tor@torekeland.com
                    Case 1:21-cr-00399-RDM Document 97-1 Filed 12/14/22 Page 30 of 52
AO 89 (Rev. 08/09) Subpoena to Testify at a Hearing or Trial in a Criminal Case (Page 2)

Case No. 21-CR-00399 (RDM)

                                                                PROOF OF SERVICE

          This subpoena for (name of individual and title, if any)
was received by me on (date)                                     .

          ’ I served the subpoena by delivering a copy to the named person as follows:


                                                                                      on (date)                                    ; or

          ’ I returned the subpoena unexecuted because:
                                                                                                                                                  .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                       .

My fees are $                                     for travel and $                                for services, for a total of $          0.00    .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                                     Server’s signature



                                                                                                   Printed name and title




                                                                                                      Server’s address

Additional information regarding attempted service, etc:




                                                                                                                                          Reset
      Case 1:21-cr-00399-RDM Document 97-1 Filed 12/14/22 Page 31 of 52




Tor Ekeland (pro hac vice)
tor@torekeland.com
TOR EKELAND LAW, PLLC
30 Wall Street, 8th Floor
New York, NY 10005-2205
(718) 737 – 7264

Michael Hassard (pro hac vice)
michael@torekeland.com
TOR EKELAND LAW, PLLC
30 Wall Street, 8th Floor
New York, NY 10005-2205
(718) 737 – 7264
Attorneys for Defendant
Roman Sterlingov

                    UNITED STATES DISTRICT COURT
                        DISTRICT OF COLUMBIA


United States of America,

                          Plaintiff,           21-CR-00399-RDM
      v.
                                        SUBPOENA FOR DOCUMENTS
Roman Sterlingov,                            AND TESTIMONY

                                                 EXHIBIT ‘A’
                          Defendant.




To:
JONATHAN LEVIN, CSO/CO-FOUNDER - CHAINALYSIS INC (Delaware Division of
Corporations File No.5731603)

Resident Agent:
Corporation Service Company
251 Little Falls Drive
Wilmington, DE 19808
          Case 1:21-cr-00399-RDM Document 97-1 Filed 12/14/22 Page 32 of 52




                                              Definitions
1.        The term “any” includes “any,” “all” and “every.”

2.        The term “Document” shall be construed in the broadest sense allowed by federal law.

The term “Document” includes, but is not limited to, any writings, drawings, graphs, charts,

photographs, phonograph records, tape recordings, notes, diaries, calendars, books, papers,

accounts, electronic or videotape recordings, and any computer-generated, computer-stored, or

electronically stored matter from which information can be obtained and translated, if necessary,

into reasonable useable form. The term “Document” includes preliminary versions, drafts, and

revisions.

3.        The term “records” shall be construed in the broadest sense allowed by federal law and

includes but is not limited to any communications, emails, text messages, bank records, financial

statements, notes, recordings, or the like.

4.        The terms “include” or “including” are used merely to emphasize certain types of

information requested and should not be construed as limiting a subpoena in any way.

“Including” should be construed in all cases as followed by the phrase “but not limited to.”

5.        The terms “person,” “individual,” or “entity” mean any natural person or any business,

legal or governmental entity or association.

6.        The terms “and” and “or” shall be construed either disjunctively or conjunctively as
necessary to bring within the scope of this subpoena all documents and information that would

be excluded if such words were not so construed. The present tense includes the past and future

tenses.

7.        The term “Chainalysis” means the following entity:

CHAINALYSIS, LLC (Delaware Division of Corporations File No. 5731603)
and its subsidiaries, affiliates, directors, contractors, employees, volunteers, agents,

representatives, or any entities controlled or owned by Chainalysis, LLC.

8.        The term “Excygent” means the following entity:

EXCYGENT, LLC (Virginia Corporation Commission Entity No. S6918975)
       Case 1:21-cr-00399-RDM Document 97-1 Filed 12/14/22 Page 33 of 52




and its subsidiaries, affiliates, directors, contractors, employees, volunteers, agents,

representatives, or any entities controlled or owned by Excygent, LLC.

9.     The term “ELLIPTIC” means the blockchain analytic company with offices in London,

New York City, Tokyo, and Singapore with the following website: www.elliptic.co.

10.    The term “MITRE” means the following entity:

MITRE ENGENUITY, INCORPORATED (Virginia Corporation Commission Entity No.
11037123)
and its subsidiaries, affiliates, directors, contractors, employees, volunteers, agents,

representatives, or any entities controlled or owned by MITRE Engenuity, Inc.

11.    The term “Bitcoin Fog” refers to any bitcoin tumbling or mixing .onion site, or the like,

that Excygent, Aaron Bice, John Golinvaux or Tyler Travis investigated or researched on behalf

of, with, or alongside the United States Government that led to the prosecution in United States

v. Roman Sterlingov 21-CR-00399-RDM (D.D.C).

12.    The term “communication” means the transmission of information by any means,

electronic, paper or other (in the form of facts, ideas, inquiries or otherwise), including, but not

limited to e-mails, text messages, chat messages, web postings, social media postings, and

messages from any and all messaging applications (including but not limited to Facebook,

Google, Twitter, Slack, Chanty, Microsoft Teams, Discord, Mattermost, Confluence, Whatsapp,

Signal) which are in the possession, custody or control of Chainalysis, wherever located. All
communications shall include source codes, object codes, algorithms, computer software,

metadata, time stamps, dates, and complete content.

13.    All “communications” include communications made in both professional and personal

capacities.

14.    The term “whitepaper” means the “How to Peel a Million: Validating and Expanding

Bitcoin Clusters” written by George Kappos, Haaron Yousaf, Rainer Stütz, Sofia Rollet,

Bernhard Haslhofer and Sarah Meiklejohn, and presented at the USENIX Security Symposium
in Boston, MA in August 2022.
       Case 1:21-cr-00399-RDM Document 97-1 Filed 12/14/22 Page 34 of 52




15.    The term “entities” includes any corporation, partnership, sole proprietorship, LLC, LLP,

or any type of business entity related in any way to the investigation of Bitcoin Fog and the

investigation and prosecution of Mr. Sterlingov.

16.    The term “Source Code” includes any coding, abbreviations, or means of identification

used to conduct blockchain analysis, log communications, or conduct investigations.

17.    The term “Native File Format” refers to the default file format that a computer

application or program uses to create or save files in a proprietary format that only that program

or application can recognize and includes all the metadata attached to those files. For example,

Microsoft Word documents should be produced in .doc format and not as a .pdf, and with all

metadata, including track changes, intact.
       Case 1:21-cr-00399-RDM Document 97-1 Filed 12/14/22 Page 35 of 52




                                   Testimony Requested
1.     This subpoena includes a request for a custodian of records, or other qualified person,

who can authenticate any produced material in accordance with Federal Rule of Evidence

902(11).

2.     For materials that are not self-authenticating, the Defense requests that Chainalysis

produce an individual with knowledge who can testify as to the authenticity of the produced

material.
       Case 1:21-cr-00399-RDM Document 97-1 Filed 12/14/22 Page 36 of 52




                         Documents and Objects to be Produced
1.     Any documents, records and communications, including individual notes to one’s self,

related to the DOJ press releases announcing Roman Sterlingov’s arrest. This includes

communications between Chainalysis or Jonathan Levin and the Department of Justice in

scheduling interviews, the timing of the release, and communications with WIRED reporter

Andy Greenberg, as well as any communications related to Andy Greenberg’s book “Tracers in

the Dark – The Global Hunt for the Crime Lords of Cryptocurrency”.

2.     Any documents, records and communications, including individual notes to one’s self,

exchanged between Chainalysis or Jonathan Levin and investors or potential investors related to

the investigation that led to the prosecution in United States v. Roman Sterlingov 21-CR-00399-

RDM (D.D.C.). This includes pitchbooks, newsletters, and any material mentioning

Chainalysis’s work on Mr. Sterlingov’s case and Bitcoin Fog.

3.     Any documents, records and communications, including individual notes to one’s self,

exchanged between Chainalysis or Jonathan Levin and employees, agents, contractors, entities,

or anyone else at Chainalysis related to the investigation that led to the prosecution in United

States v. Roman Sterlingov 21-CR-00399-RDM (D.D.C.).

4.     Any documents, records and communications, including individual notes to one’s self,
exchanged between Chainalysis or Jonathan Levin and Aaron Bice, Excygent, John Golinvaux,

Tyler Travis, MITRE, Catherine A. Pelker, the IRS, the U.S. Treasury Department, the DOJ, the

FBI, Elliptic, and any other foreign or domestic law enforcement agency, third party vendor or

contractors, or entities in any combination whatsoever, related to the investigation that led to the

prosecution in United States v. Roman Sterlingov 21-CR-00399-RDM (D.D.C.).

5.     Any documents, records, and communications, including any contracts or memorandums

of understanding between the United States Government and Chainalysis or Jonathan Levin in

relation to the work related to the investigation that led to the prosecution in United States v.
Roman Sterlingov 21-CR-00399-RDM (D.D.C.).
       Case 1:21-cr-00399-RDM Document 97-1 Filed 12/14/22 Page 37 of 52




6.        Any documents, records and communications regarding the purchase of Excygent by

Chainalysis, including due diligence documents, the price paid, any memorandums of

understanding, sales agreements, negotiations, contracts and records of payment whether via

cash, equity, options, or any other form of consideration.

7.        Any documents, records and communications, including individual notes to one’s self,

exchanged between Chainalysis or Jonathan Levin and WIRED Magazine, Andy Greenberg, or

any other reporter related to blockchain analysis or Andy Greenberg’s book “Tracers in the Dark

– The Global Hunt for the Crime-Lords of Cryptocurrency” released on in November 15, 2022.

8.        Any documents, records and communications, including individual notes to one’s self,

exchanged between Chainalysis or Jonathan Levin and any researcher from University College

London, IC3, the Austrian Institute of Technology, or the Complexity Science Hub Vienna,

including, but not limited to, George Kappos, Haaron Yousaf, Rainer Stütz, Sofia Rollet,

Bernhard Haslhofer, or Sarah Meiklejohn related to the presentation of the whitepaper at the

USENIX Security Symposium and the investigation that led to the prosecution in United States

v. Roman Sterlingov 21-CR-00399-RDM (D.D.C.). This includes datasets, draft versions of the

whitepaper, source code, object code, algorithms, heuristics, methodologies, and Chainalysis

research sent to researchers, as well as all software editions with complete code in native file

format.
9.        Any documents, records and communications, including individual notes to one’s self,

regarding the development of Chainalysis Reactor software and any other software related to the

investigation that led to the prosecution in United States v. Roman Sterlingov 21-CR-00399-

RDM (D.D.C.), including any reports, sandbox results, beta testing, penetration testing results,

GitHub or the like archives or repositories, wiki documents, peer reviews, error rates, clustering

methodologies and propensity for false positives.

10.       Any documents, records and communications, including individual notes to one’s self,

exchanged between Chainalysis or Jonathan Levin and Catherine Alden Pelker related to the
       Case 1:21-cr-00399-RDM Document 97-1 Filed 12/14/22 Page 38 of 52




investigation that led to the prosecution in United States v. Roman Sterlingov 21-CR-00399-

RDM (D.D.C.).

11.    Any documents, records and communications, including individual notes to one’s self,

exchanged between Chainalysis or Jonathan Levin and Excygent related to the investigation that

led to the prosecution in United States v. Roman Sterlingov 21-CR-00399-RDM (D.D.C.).

12.    Any documents, records and communications, including individual notes to one’s self,

exchanged between Chainalysis or Jonathan Levin and Elliptic related to the investigation that

led to the prosecution in United States v. Roman Sterlingov 21-CR-00399-RDM (D.D.C.). This

includes all communications between Excygent and Elliptic.

13.    Any documents, records and communications, including individual notes to one’s self,

exchanged between Chainalysis or Jonathan Levin and MITRE related to the investigation that

led to the prosecution in United States v. Roman Sterlingov 21-CR-00399-RDM (D.D.C.).

14.    Any documents, records and communications, including individual notes to one’s self,

exchanged between Chainalysis or Jonathan Levin and Excygent related to the investigation that

led to the prosecution in United States v. Roman Sterlingov 21-CR-00399-RDM (D.D.C.).

15.    Any documents, records and communications, including individual notes to one’s self,

exchanged between Chainalysis or Jonathan Levin and Aaron Bice related to the investigation

that led to the prosecution in United States v. Roman Sterlingov 21-CR-00399-RDM (D.D.C.).
16.    Any documents, records and communications, including individual notes to one’s self,

initiated or received by Michael Gronager, Youli Lee, John Lewis Golinvaux, Gurvais Grigg, or

anyone else affiliated with Chainalysis, related to the investigation that led to the prosecution in

United States v. Roman Sterlingov 21-CR-00399-RDM (D.D.C.).

17.    Any documents, records and communications, including individual notes to one’s self,

exchanged between Chainalysis or Jonathan Levin and the Swedish Prosecution Authority

related to the investigation that led to the prosecution in United States v. Roman Sterlingov 21-

CR-00399-RDM (D.D.C.).
       Case 1:21-cr-00399-RDM Document 97-1 Filed 12/14/22 Page 39 of 52




18.    Any documents, records and communications, including individual notes to one’s self,

exchanged between Chainalysis or Jonathan Levin and the Financial Crimes Enforcement

Network related to the investigation that led to the prosecution in United States v. Roman

Sterlingov 21-CR-00399-RDM (D.D.C.).

19.    Any documents, records and communications, including individual notes to one’s self,

exchanged between Chainalysis or Jonathan Levin and any other federal agency related to the

investigation that led to the prosecution in United States v. Roman Sterlingov 21-CR-00399-

RDM (D.D.C.).

20.    All communications with WIRED reporter Andy Greenberg.

21.    Any documents, records and communications, including individual notes to one’s self,

exchanged between Chainalysis or Jonathan Levin and anyone else regarding any press releases

announcing Mr. Sterlingov’s arrest. This includes all communications with WIRED Magazine

reporters, individuals at the Department of Justice, or anyone else.

22.    Please produce a log documenting all material withheld on the basis of privilege, work-

product doctrine, or otherwise.

23.    All production must be in Native File Format unless otherwise agreed to.



Deadline and place for production:
On or before 21 days from date of receipt.


Tor Ekeland Law, PLLC
30 Wall Street
8th Floor
New York, NY 10005
(718) 737-7264
tor@torekeland.com
      Case 1:21-cr-00399-RDM Document 97-1 Filed 12/14/22 Page 40 of 52




November 18, 2022

                                         Submitted,

                                         /s/ Tor Ekeland
                                         Tor Ekeland (NYS Bar No.
                                         4493631)
                                         Tor Ekeland Law, PLLC

                                         /s/ Michael Hassard
                                         Michael Hassard (NYS Bar No.
                                         5824768)
                                         Tor Ekeland Law, PLLC


                                         30 Wall Street
                                         8th Floor
                                         New York, NY
                                         10005
                                         (718) 737 - 7264
                                         tor@torekeland.com

                                         Attorneys for Roman Sterlingov
                    Case 1:21-cr-00399-RDM Document 97-1 Filed 12/14/22 Page 41 of 52
AO 89 (Rev. 08/09) Subpoena to Testify at a Hearing or Trial in a Criminal Case


                                        UNITED STATES DISTRICT COURT
                                                                           for the
                                                             DistrictDistrict
                                                        __________    of Columbia
                                                                              of __________
                   United States of America                                       )
                              v.                                                  )
                        Roman Sterlingov                                          )   Case No. 21-CR-00399 (RDM)
                                                                                  )
                              Defendant                                           )

                      SUBPOENA TO TESTIFY AT A HEARING OR TRIAL IN A CRIMINAL CASE

To:     Youli Lee




        YOU ARE COMMANDED to appear in the United States district court at the time, date, and place shown
below to testify in this criminal case. When you arrive, you must remain at the court until the judge or a court officer
allows you to leave.
Place of Appearance: The U.S. District Court for D.C.                                 Courtroom No.:    8
                               333 Constitution Avenue N.W.                           Date and Time:
                               Washington D.C. 20001                                                   01/09/2023 9:00 am

           You must also bring with you the following documents, electronically stored information, or objects (blank if not
applicable):
See Exhibit 'A'




          (SEAL)


Date:          11/18/2022
                                                                                      CLERK OF COURT


                                                                                                Signature of Clerk or Deputy Clerk



The name, address, e-mail, and telephone number of the attorney representing (name of party)                            Roman Sterlingov
                                       , who requests this subpoena, are:
 Tor Ekeland Law, PLLC
 30 Wall St., 8th Floor
 New York, NY
 10005
 718-737-7264
 tor@torekeland.com
                    Case 1:21-cr-00399-RDM Document 97-1 Filed 12/14/22 Page 42 of 52
AO 89 (Rev. 08/09) Subpoena to Testify at a Hearing or Trial in a Criminal Case (Page 2)

Case No. 21-CR-00399 (RDM)

                                                                PROOF OF SERVICE

          This subpoena for (name of individual and title, if any)
was received by me on (date)                                     .

          ’ I served the subpoena by delivering a copy to the named person as follows:


                                                                                      on (date)                                    ; or

          ’ I returned the subpoena unexecuted because:
                                                                                                                                                  .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                       .

My fees are $                                     for travel and $                                for services, for a total of $          0.00    .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                                     Server’s signature



                                                                                                   Printed name and title




                                                                                                      Server’s address

Additional information regarding attempted service, etc:




                                                                                                                                          Reset
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Tor Ekeland (pro hac vice)
tor@torekeland.com
TOR EKELAND LAW, PLLC
30 Wall Street, 8th Floor
New York, NY 10005-2205
(718) 737 – 7264

Michael Hassard (pro hac vice)
michael@torekeland.com
TOR EKELAND LAW, PLLC
30 Wall Street, 8th Floor
New York, NY 10005-2205
(718) 737 – 7264
Attorneys for Defendant
Roman Sterlingov

                    UNITED STATES DISTRICT COURT
                        DISTRICT OF COLUMBIA


United States of America,

                          Plaintiff,           21-CR-00399-RDM
      v.
                                        SUBPOENA FOR DOCUMENTS
Roman Sterlingov,                            AND TESTIMONY

                                                 EXHIBIT ‘A’
                          Defendant.




To:
YOULI LEE, SR. LEGAL DIRECTOR - CHAINALYSIS INC (Delaware Division of
Corporations File No.5731603)

Resident Agent:
Corporation Service Company
251 Little Falls Drive
Wilmington, DE 19808
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                                              Definitions
1.        The term “any” includes “any,” “all” and “every.”

2.        The term “Document” shall be construed in the broadest sense allowed by federal law.

The term “Document” includes, but is not limited to, any writings, drawings, graphs, charts,

photographs, phonograph records, tape recordings, notes, diaries, calendars, books, papers,

accounts, electronic or videotape recordings, and any computer-generated, computer-stored, or

electronically stored matter from which information can be obtained and translated, if necessary,

into reasonable useable form. The term “Document” includes preliminary versions, drafts, and

revisions.

3.        The term “records” shall be construed in the broadest sense allowed by federal law and

includes but is not limited to any communications, emails, text messages, bank records, financial

statements, notes, recordings, or the like.

4.        The terms “include” or “including” are used merely to emphasize certain types of

information requested and should not be construed as limiting a subpoena in any way.

“Including” should be construed in all cases as followed by the phrase “but not limited to.”

5.        The terms “person,” “individual,” or “entity” mean any natural person or any business,

legal or governmental entity or association.

6.        The terms “and” and “or” shall be construed either disjunctively or conjunctively as
necessary to bring within the scope of this subpoena all documents and information that would

be excluded if such words were not so construed. The present tense includes the past and future

tenses.

7.        The term “Chainalysis” means the following entity:

CHAINALYSIS, LLC (Delaware Division of Corporations File No. 5731603)
and its subsidiaries, affiliates, directors, contractors, employees, volunteers, agents,

representatives, or any entities controlled or owned by Chainalysis, LLC.

8.        The term “Excygent” means the following entity:

EXCYGENT, LLC (Virginia Corporation Commission Entity No. S6918975)
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and its subsidiaries, affiliates, directors, contractors, employees, volunteers, agents,

representatives, or any entities controlled or owned by Excygent, LLC.

9.     The term “ELLIPTIC” means the blockchain analytic company with offices in London,

New York City, Tokyo, and Singapore with the following website: www.elliptic.co.

10.    The term “MITRE” means the following entity:

MITRE ENGENUITY, INCORPORATED (Virginia Corporation Commission Entity No.
11037123)
and its subsidiaries, affiliates, directors, contractors, employees, volunteers, agents,

representatives, or any entities controlled or owned by MITRE Engenuity, Inc.

11.    The term “Bitcoin Fog” refers to any bitcoin tumbling or mixing .onion site, or the like,

that Excygent, Aaron Bice, John Golinvaux or Tyler Travis investigated or researched on behalf

of, with, or alongside the United States Government that led to the prosecution in United States

v. Roman Sterlingov 21-CR-00399-RDM (D.D.C).

12.    The term “communication” means the transmission of information by any means,

electronic, paper or other (in the form of facts, ideas, inquiries or otherwise), including, but not

limited to e-mails, text messages, chat messages, web postings, social media postings, and

messages from any and all messaging applications (including but not limited to Facebook,

Google, Twitter, Slack, Chanty, Microsoft Teams, Discord, Mattermost, Confluence, Whatsapp,

Signal) which are in the possession, custody or control of Chainalysis, wherever located. All
communications shall include source codes, object codes, algorithms, computer software,

metadata, time stamps, dates, and complete content.

13.    All “communications” include communications made in both professional and personal

capacities.

14.    The term “whitepaper” means the “How to Peel a Million: Validating and Expanding

Bitcoin Clusters” written by George Kappos, Haaron Yousaf, Rainer Stütz, Sofia Rollet,

Bernhard Haslhofer and Sarah Meiklejohn, and presented at the USENIX Security Symposium
in Boston, MA in August 2022.
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15.    The term “entities” includes any corporation, partnership, sole proprietorship, LLC, LLP,

or any type of business entity related in any way to the investigation of Bitcoin Fog and the

investigation and prosecution of Mr. Sterlingov.

16.    The term “Source Code” includes any coding, abbreviations, or means of identification

used to conduct blockchain analysis, log communications, or conduct investigations.

17.    The term “Native File Format” refers to the default file format that a computer

application or program uses to create or save files in a proprietary format that only that program

or application can recognize and includes all the metadata attached to those files. For example,

Microsoft Word documents should be produced in .doc format and not as a .pdf, and with all

metadata, including track changes, intact.
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                                   Testimony Requested
1.     This subpoena includes a request for a custodian of records, or other qualified person,

who can authenticate any produced material in accordance with Federal Rule of Evidence

902(11).

2.     For materials that are not self-authenticating, the Defense requests that Chainalysis

produce an individual with knowledge who can testify as to the authenticity of the produced

material.
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                         Documents and Objects to be Produced
1.     Any documents, records and communications, including individual notes to one’s self,

related to the DOJ press releases announcing Roman Sterlingov’s arrest. This includes

communications between Chainalysis or Youli Lee and the Department of Justice in scheduling

interviews, the timing of the release, and communications with WIRED reporter Andy

Greenberg, as well as any communications related to Andy Greenberg’s book “Tracers in the

Dark – The Global Hunt for the Crime Lords of Cryptocurrency”.

2.     Any documents, records and communications, including individual notes to one’s self,

exchanged between Chainalysis or Youli Lee and investors or potential investors related to the

investigation that led to the prosecution in United States v. Roman Sterlingov 21-CR-00399-

RDM (D.D.C.). This includes pitchbooks, newsletters, and any material mentioning

Chainalysis’s work on Mr. Sterlingov’s case and Bitcoin Fog.

3.     Any documents, records and communications, including individual notes to one’s self,

exchanged between Chainalysis or Youli Lee and employees, agents, contractors, entities, or

anyone else at Chainalysis related to the investigation that led to the prosecution in United States

v. Roman Sterlingov 21-CR-00399-RDM (D.D.C.).

4.     Any documents, records and communications, including individual notes to one’s self,
exchanged between Chainalysis or Youli Lee and Aaron Bice, Excygent, John Golinvaux, Tyler

Travis, MITRE, Catherine A. Pelker, the IRS, the U.S. Treasury Department, the DOJ, the FBI,

Elliptic, and any other foreign or domestic law enforcement agency, third party vendor or

contractors, or entities in any combination whatsoever, related to the investigation that led to the

prosecution in United States v. Roman Sterlingov 21-CR-00399-RDM (D.D.C.).

5.     Any documents, records, and communications, including any contracts or memorandums

of understanding between the United States Government and Chainalysis or Youli Lee in relation

to the work related to the investigation that led to the prosecution in United States v. Roman
Sterlingov 21-CR-00399-RDM (D.D.C.).
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6.        Any documents, records and communications regarding the purchase of Excygent by

Chainalysis, including due diligence documents, the price paid, any memorandums of

understanding, sales agreements, negotiations, contracts and records of payment whether via

cash, equity, options, or any other form of consideration.

7.        Any documents, records and communications, including individual notes to one’s self,

exchanged between Chainalysis or Youli Lee and WIRED Magazine, Andy Greenberg, or any

other reporter related to blockchain analysis or Andy Greenberg’s book “Tracers in the Dark –

The Global Hunt for the Crime-Lords of Cryptocurrency” released on in November 15, 2022.

8.        Any documents, records and communications, including individual notes to one’s self,

exchanged between Chainalysis or Youli Lee and any researcher from University College

London, IC3, the Austrian Institute of Technology, or the Complexity Science Hub Vienna,

including, but not limited to, George Kappos, Haaron Yousaf, Rainer Stütz, Sofia Rollet,

Bernhard Haslhofer, or Sarah Meiklejohn related to the presentation of the whitepaper at the

USENIX Security Symposium and the investigation that led to the prosecution in United States

v. Roman Sterlingov 21-CR-00399-RDM (D.D.C.). This includes datasets, draft versions of the

whitepaper, source code, object code, algorithms, heuristics, methodologies, and Chainalysis

research sent to researchers, as well as all software editions with complete code in native file

format.
9.        Any documents, records and communications, including individual notes to one’s self,

regarding the development of Chainalysis Reactor software and any other software related to the

investigation that led to the prosecution in United States v. Roman Sterlingov 21-CR-00399-

RDM (D.D.C.), including any reports, sandbox results, beta testing, penetration testing results,

GitHub or the like archives or repositories, wiki documents, peer reviews, error rates, clustering

methodologies and propensity for false positives.

10.       Any documents, records and communications, including individual notes to one’s self,

exchanged between Chainalysis or Youli Lee and Catherine Alden Pelker related to the
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investigation that led to the prosecution in United States v. Roman Sterlingov 21-CR-00399-

RDM (D.D.C.).

11.    Any documents, records and communications, including individual notes to one’s self,

exchanged between Chainalysis or Youli Lee and Excygent related to the investigation that led to

the prosecution in United States v. Roman Sterlingov 21-CR-00399-RDM (D.D.C.).

12.    Any documents, records and communications, including individual notes to one’s self,

exchanged between Chainalysis or Youli Lee and Elliptic related to the investigation that led to

the prosecution in United States v. Roman Sterlingov 21-CR-00399-RDM (D.D.C.). This

includes all communications between Excygent and Elliptic.

13.    Any documents, records and communications, including individual notes to one’s self,

exchanged between Chainalysis or Youli Lee and MITRE related to the investigation that led to

the prosecution in United States v. Roman Sterlingov 21-CR-00399-RDM (D.D.C.).

14.    Any documents, records and communications, including individual notes to one’s self,

exchanged between Chainalysis or Youli Lee and Excygent related to the investigation that led to

the prosecution in United States v. Roman Sterlingov 21-CR-00399-RDM (D.D.C.).

15.    Any documents, records and communications, including individual notes to one’s self,

exchanged between Chainalysis or Youli Lee and Aaron Bice related to the investigation that led

to the prosecution in United States v. Roman Sterlingov 21-CR-00399-RDM (D.D.C.).
16.    Any documents, records and communications, including individual notes to one’s self,

initiated or received by Michael Gronanger, Jonathan Levin, Youli Lee, John Lewis Golinvaux,

Gurvais Grigg, or anyone else affiliated with Chainalysis, related to the investigation that led to

the prosecution in United States v. Roman Sterlingov 21-CR-00399-RDM (D.D.C.).

17.    Any documents, records and communications, including individual notes to one’s self,

exchanged between Chainalysis or Youli Lee and the Swedish Prosecution Authority related to

the investigation that led to the prosecution in United States v. Roman Sterlingov 21-CR-00399-

RDM (D.D.C.).
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18.    Any documents, records and communications, including individual notes to one’s self,

exchanged between Chainalysis or Youli Lee and the Financial Crimes Enforcement Network

related to the investigation that led to the prosecution in United States v. Roman Sterlingov 21-

CR-00399-RDM (D.D.C.).

19.    Any documents, records and communications, including individual notes to one’s self,

exchanged between Chainalysis or Youli Lee and any other federal agency related to the

investigation that led to the prosecution in United States v. Roman Sterlingov 21-CR-00399-

RDM (D.D.C.).

20.    Any documents, records and communications, including individual notes to one’s self,

exchanged between Chainalysis or Youli Lee and anyone else regarding any press releases

announcing Mr. Sterlingov’s arrest. This includes all communications with WIRED Magazine

reporters, former colleagues at the Department of Justice or anyone else.

21.    Any documents, records and communications, including individual notes to one’s self,

exchanged between Chainalysis and Youli Lee regarding Youli Lee’s employment at

Chainalysis. This includes any recruitment efforts, job applications, onboarding files, projects,

contacts, work done and internal communications.

22.    Please produce a log documenting all material withheld on the basis of privilege, work-

product doctrine, or otherwise.
23.    All production must be in Native File Format unless otherwise agreed to.



Deadline and place for production:

On or before 21 days from date of receipt.


Tor Ekeland Law, PLLC
30 Wall Street
8th Floor
New York, NY 10005
(718) 737-7264
tor@torekeland.com
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November 18, 2022

                                         Submitted,

                                         /s/ Tor Ekeland
                                         Tor Ekeland (NYS Bar No.
                                         4493631)
                                         Tor Ekeland Law, PLLC

                                         /s/ Michael Hassard
                                         Michael Hassard (NYS Bar No.
                                         5824768)
                                         Tor Ekeland Law, PLLC


                                         30 Wall Street
                                         8th Floor
                                         New York, NY
                                         10005
                                         (718) 737 - 7264
                                         tor@torekeland.com

                                         Attorneys for Roman Sterlingov
